                            UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF ALABAMA
                                    EASTERN DIVISION

IN RE:                                       )
                                             )
JOHN H. HOLLAWAY,                            )       CASE NO. 16-41244 JJR 7
JOAN P. HOLLAWAY,                            )       CHAPTER 7
                                             )
                       Debtors.              )


                            REPORT OF UNCLAIMED FUNDS UNDER
                                 BANKRUPTCY RULE 3011

        Pursuant to Bankruptcy Code §11347 and Rule 3011, Unclaimed Funds in Chapter 7
Liquidation, a list of all known names and addresses of the entities and the amounts which they are
entitled to be paid from the remaining property of the estate shall be filed with the clerk.

Claim #         Name & Last Known Address                           Amount of Dividend

(Surplus)       John H Hollaway and Joan P Hollaway                 $30,411.34
                c/o Shavon Latress Richardson
                Alabama Consumer Law Group, LLC
                P.O. Drawer 756
                Talladega AL 35161

                       Reason: Not cashed within 90 days

_______________________________________________________________________
                               TOTAL REMITTED TO COURT: $30,411.34




         Date: 01/25/2021                            RESPECTFULLY SUBMITTED,

                                                     /s/ Rocco J. Leo_
                                                     ROCCO J. LEO, TRUSTEE
                                                     700 Century Park South
                                                     Suite 222
                                                     Birmingham, AL 35226
                                                     Telephone: (205) 879-0000
                                                     Facsimile: (205) 879-9281
                                                     rleo@leoandoneal.com




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                                  CERTIFICATE OF SERVICE

       I hereby certify that on the 25th day of January, 2021, I served a copy of the above and
foregoing on all parties listed below:

____ Facsimile transmission;
____ Hand delivery;
_x__ Served via Notice of Electronic Filing:

              Shavon Latress Richardson
              Attorney for the Debtors
              Alabama Consumer Law Group, LLC
              P.O. Drawer 756
              Talladega AL 35161
              shavon@aclg.law

              Honorable Robert J. Landry, III
              Assistant Bankruptcy Administrator
              1129 Noble Street
              Anniston, AL 36201
              robert_landry@alnba.uscourts.gov

              Max C, Pope, Jr.
              Attorney for Trustee
              PO Box 2958
              Birmingham, AL 35202
              max@maxpopejr.com



___    Placing a copy of same in the United States Mail, properly addressed and first class
       postage prepaid to:




                                                          s/ Rocco J. Leo
                                                          Trustee




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